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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

  3137, LLC, et als.,                                 )
                Plaintiffs,                           ) C.A. No.: 1:21-cv-10473-DJC
  v.                                                  )
                                                      ) LEAVE TO FILE GRANTED
  TOWN OF HARWICH, et als.,                           )     DECEMBER 13, 2021
            Defendants.                               )

             PLAINTIFFS’ SURREPLY IN SUPPORT OF MEMORANDUM IN
           OPPOSITION TO DEFENDANT GAIL SLUIS’S MOTION TO DISMISS
       As Ms. Sluis concedes, the Court’s goal in reviewing a Rule 12(b)(6) motion is to

determine whether the factual allegations in the complaint set forth “a plausible claim upon which

relief may be granted.” Woods v. Wells Fargo Bank, N.A., 733 F.3d 349, 353 (1st Cir.2013). The

court must take all of the pleaded factual allegations as true “even if it strikes a savvy judge that

actual proof of those facts is improbable.” Bell v. Atl. Corp. v. Twombly, 550 U.S. 544, 556

(2007). Barring “narrow exceptions” not applicable here, courts must consider only the complaint,

documents attached to it, and documents expressly incorporated into it. Waterson v. Page, 987

F.2d 1, 3 (1st Cir.1993). Thus, the primary purpose of a Rule 12(b)(6) motion is to weed out cases

that do not warrant reaching the (oftentimes) laborious and discovery process because, based on

the factual scenario on which the case rests, the plaintiff could never win. In short, a plaintiff is

not required to submit evidence to defeat a Rule 12(b)(6) motion, but need only sufficiently allege

in the complaint a plausible claim. This the Plaintiffs have done. 1


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         Gail Sluis cherry-picks those facts which fit her self-serving narrative, and asks this Court
to ignore other facts which she cannot contradict. For example, Plaintiffs allege that Chairman
MacAskill in private conversations commented that the Noise Bylaw might successfully be used
to put Ember and The Port out of business. AMEND. COMPL. at ¶ 67.
        Plaintiffs further allege that the John/Jane Doe defendants – individuals who may own or
operate competing businesses and/or are current or former agents, employees or representative of
the Town of Harwich, including the Harwich Chamber of Commerce or other actors who,
including through more than forty (40) anonymous social media accounts – cyberstalked the
Plaintiffs and conspired with Defendants to harass, slander, defame, threaten, intimidate and
coerce the Plaintiffs in violation of federal and state law. Id. at ¶ 32.


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       Ms. Sluis now argues that because her restaurant manager, Rich Hristov, is not listed as an

“official” member of the ad hoc noise containment committee, there is no “nexus between her and

the Town which endowed her alleged conduct with color of law or made her into a co-conspirator.”

REPLY at 1-2. This is a bridge too far. Indeed, Rich Hristov is the President of the Harwich

Chamber of Commerce (the “Chamber”). The Chamber’s Executive Director, Cyndi Williams, is

a member of the ad hoc noise committee and directly liaises with Chairman MacAskill and the

other defendant members of the Board and Town Administrator. Importantly, the Chamber’s role

is to promote the economic vitality of its member businesses, which include Ms. Sluis’s restaurant,

The 400 East – a direct competitor of Ember and The Port – which also holds an entertainment

license. To argue that Rich Hristov is not a “member” of the noise committee ignores his unique

position and ability to influence directly or indirectly the same, or to receive non-public

information, including through private social media accounts, which benefit his and other

competing restaurants at the expense of Ember and The Port.

       Importantly, Mr. Hristov “absence” from the inherently contradictory 2 “lists” of

“members” of ad hoc noise containment committee is in no way “central” to Plaintiffs’ claims,

and also defines their lack of authenticity. Waterson, 987 F.2d at 3. Likewise, Mr. Hristov’s

affidavit fails to offer any explanation as to why or how he did not receive, learn of or otherwise

discuss with Ms. Sluis or others the non-public memorandum, dated June 12, 2020 and annexed

as Exhibit V to the Amended Complaint. This memorandum discusses renewing entertainment

licenses during the COVID-19 pandemic, and the Health Director’s recommendation to condition

license renewals to exclude live entertainment, which directly affects not only his employer

       2
         For example, Exhibit 2 to the Reply purports to contain a “certified” list of the “members”
of the ad hoc noise committee. This “certified” list identifies seven (7) individuals whose
appointment to the committee expired on December 31, 2020, except for one: Jake Domos, whose
term expires on December 31, 2022. Yet, on the Town’s website, annexed as Exhibit 3 to the
Reply, the “list” of committee members is missing three members included on the “certified” list,
but also includes Chairman MacAskill, who is merely the Board’s “liaison” to the committee and
not a “member.” These lists cannot be authenticated.


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restaurant’s entertainment license, but live music directly sponsored by the Harwich Chamber of

Commerce for the benefit of its members. AMEND. COMPL. at ¶¶ 67, 85.

       Similarly, Mr. Hristov’s affidavit is utterly silent as to whether he ever attended meetings

of the noise committee; whether he discussed Ember or The Port, or the Noise Bylaw, including

with Chairman MacAskill or any other member of the Board or the noise committee, or with his

boss, Ms. Sluis; or whether he owns or knows who owns the “anonymous” social media accounts

used to target, harass and defame Plaintiffs. See AMEND. COMPL. at ¶ 85. Instead, Mr. Hristov’s

affidavit cleverly skates around these issues and his direct connection to the Chamber, the noise

committee and Ms. Sluis, and how his many roles serve as a conduit for Ms. Sluis to learn non-

public information that she may have used to further her conspiracy to “shut down” those “Brackett

boys.” Perhaps most notable is the fact that Ms. Sluis submits no affidavit of her own.

       Thus, none of Ms. Sluis’s documents, nor the self-serving statements of her counsel,

actually contradict Plaintiffs’ allegations, is central to Plaintiffs’ claims, or otherwise meets the

“narrow exceptions” which permit the Court to look beyond the complaint and its exhibits without

converting the 12(b)(6) motion to a Rule 56 motion. Waterson, 987 F.2d at 3. Similarly, the

absence of Ms. Sluis’s additional documents in no way hamstrings this Court’s inquiry into the

viability of Plaintiffs’ own allegations. Beddall v. State St. Bank & Trust Co., 137 F.3d 12, 17

(1st Cir.1998). As a result, the Court must disregard Ms. Sluis’s documents.

       If this Court intends to admit Ms. Sluis’s documents into the record and thereby convert

the Rule 12(b)(6) motion into a Rule 56 motion, then Plaintiffs respectfully request a reasonable

opportunity to depose Ms. Sluis, Mr. Hristov, and Cyndi Williams, Executive Director of the

Harwich Chamber of Commerce, and to present all the material that is pertinent to the motion.

FED.R.CIV.P. 12(d); Bartlett v. Dep’t of the Treasury (I.R.S.), 749 F.3d 1, 12 (1st Cir.2014).




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                                                      Respectfully submitted,

                                                      PLAINTIFFS,

                                                      By their Attorney,


                                                      /s/ Raymond H. Tomlinson, Jr.
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  Dated: December 17, 2021


                                CERTIFICATE OF SERVICE

        I, Raymond H. Tomlinson, Jr., hereby certify that on this day, I caused a true and accurate
copy of the foregoing document, together with all exhibits and other documents annexed thereto,
to be electronically filed and served through the Electronic Case Filing System upon all registered
participants as identified on the Notice of Electronic Filing, and that a paper copy shall be served
via electronic mail and/or U.S. Mail Deliver thereof, postage prepaid, upon those indicated as non-
registered participants.
                                                      /s/ Raymond H. Tomlinson, Jr.
                                                      Raymond H. Tomlinson, Jr.
Dated: December 17, 2021




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